
699 S.E.2d 772 (2010)
In the Interest of D.B., a child.
No. A10A1549.
Court of Appeals of Georgia.
July 21, 2010.
*773 Mark J. Nathan, Savannah, for appellant.
Larry Chisolm, Dist. Atty., Kimberly Rowden, Asst. Dist. Atty., for appellee.
ELLINGTON, Judge.
A Chatham County juvenile court judge adjudicated D.B. delinquent for committing acts, which if committed by an adult, would have constituted two counts of aggravated assault with intent to rob, OCGA § 16-5-21(a)(1). D.B. appeals from the denial of his motion for new trial, contending that the evidence was insufficient to support the adjudication of delinquency. For the following reasons, we affirm.
Viewed in the light most favorable to the findings and judgment of the juvenile court,[1] the record shows that, around noon on December 30, 2009, 11-year-old J.L. and his 13-year-old brother, W.L., walked to a local store to buy a belt. As they neared the store, they saw 15-year-old D.B. and three of his friends. J.L. was afraid that D.B. and his friends were "up to no good." D.B. followed the brothers inside the store and began "putting up signs," that is, making hand gestures like he was shooting a gun at them. As the brothers stepped outside of the store, D.B. and his friends crowded around them, and either D.B. or others in the group demanded the brothers' money. D.B., while staring at the brothers, opened his jacket and revealed a pistol stuck in his pants pocket. Frightened, the brothers fled down the street, hiding first in a fast food restaurant and then running to a Chinese restaurant a few blocks from their house. Thinking he may have lost his pursuers, W.L. considered ordering the Chinese food he was supposed to take home for his family, but he did not want to wait. The brothers then walked home, only to find D.B. and his friends waiting near the stairs leading up to their apartment. The brothers managed to get by D.B. and to run upstairs to their apartment, where they immediately told their mother what had happened. She called the police, and they apprehended D.B. and the others soon thereafter. D.B. did not have a weapon on him when he was arrested; however, one of D.B.'s friends told the police that D.B., shortly before he was arrested, had a BB pistol in his pocket. This same friend also told the police that, before the assaults, D.B. told him that he intended to rob the brothers.
*774 "Aggravated assault with intent to rob requires [both proof of] the [victim's] reasonable apprehension of receiving bodily injury and proof of the [defendant's] intent to rob." (Punctuation and footnote omitted.) Adcock v. State, 279 Ga.App. 473, 475(5)(b), 631 S.E.2d 494 (2006). The evidence adduced was sufficient to prove beyond a reasonable doubt that, when D.B. showed the brothers the pistol stuck in his pocket, he put them in reasonable apprehension of receiving an immediate bodily injury. See In the Interest of J.A.L., 284 Ga.App. 220, 221-222(3), 644 S.E.2d 162 (2007). Further, the brothers' testimony that D.B. or his companions demanded their money at the time of the assault proves that it was with the intent to rob and, therefore, supports the adjudication of delinquency for two counts of aggravated assault beyond a reasonable doubt. See Brown v. State, 281 Ga.App. 523, 525-526(1)(b), 636 S.E.2d 709 (2006).
Judgment affirmed.
ANDREWS, P.J., and DOYLE, J., concur.
NOTES
[1]  "When reviewing the sufficiency of the evidence in a juvenile proceeding alleging delinquency, that view of the evidence most favorable to the State must be taken, for every presumption and every inference are in favor of the verdict or adjudication." (Citation and punctuation omitted.) In the Interest of B.J.C., 281 Ga.App. 228, 635 S.E.2d 833 (2006). See also In the Interest of E.D.F., 243 Ga.App. 68(1), 532 S.E.2d 424 (2000).

